Case 1:23-mi-99999-UNA Document 2907-12 pEigs PGBUNTYOSRERIFF'S OFFICE

FUGITIVE / DOMESTIC / S.O.R.T UNITS
4415 Memorial Drive

Decatur, Georgia 30032

OFFICE 404-298-8200

FAX 404-298-8048

ORI: GA0440000

FACSIMILE MESSAGE

MELODY MADDOX, SHERIFF

TO: JEFFERSON PARISH Sheriff‘s Office ATTN: EXTRADITION
REF: REID, RANDAL / D.O.B.:

NUMBER TO WHICH THIS FAX IS BEING SENT: 504-227-1308
NUMBER OF PAGES (INCLUDING THIS PAGE): DATE: 11/30/2022

CONFIDENTIALITY WARNING:
The information contained in, or attached to, this fax message is intended only for the personal and confidential use of the

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error, please notify us immediately by telephone and return the original message to us by mail. Thank you.

MESSAGE:
REID, RANDAL INMATE # XX0447302 HAS SIGNED A WAVIER OF EXTRADITION ON 11/29/2022

AGREEING TO RETURN TO LOUISIANA. SUBJECT IS READY TO BE TRANSPORTED. PLEASE PICK

THIS SUBJECT NO LATER THAN _ 72/76/2022

FOR TRANSPORT OF THIS INMATE, PLEASE CONTACT THE DEKALB COUNTY
JAIL RELEASE UNIT AT (404) 298-8195 (THIS IS A 24-HOUR NUMBER).

PICK UP LOCATION: MEDICAL RECORDS:
DEKALB COUNTY SHERIFF’S OFFICE (404) 298-8531
4425 MEMORIAL DRIVE (404) 298-8596 FAX
DECATUR, GA 30032

NOTE: PLEASE CONTACT THE ABOVE NUMBER 24-HOURS IN ADVANCE TO HAVE THE PRISONER
PREPARED FOR TRANSPORT.

FAX SENT BY: INV_A. CHANG / EXTRADITIONS (404)298-8304, FAX # (404) 298-8048
***PLEASE ACKNOWLEDGE RECEIPT OF FAX. THANK YOU*#*

investigator A. Chang #2848
DeKalb County Sheriff's Office
Fugitive / Extradition Unit
Office: (404) 298-8200

Desk: (404) 298-8304

FAX: (404) 298-8048

e-mail: achang@dekalbcountyga.gov

